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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


REPUBLICAN NATIONAL COMMITTEE,

                     Plaintiff,                    Case No. 1:22-cv-00659-TJK
      v.

NANCY PELOSI, et al.,

                     Defendants.




              DEFENDANTS’ MEMORANDUM OF LAW IN OPPOSITION
             TO PLAINTIFF’S MOTION FOR PRELIMINARY INJUNCTION




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                                       INTRODUCTION

       In its Motion for Preliminary Injunction (“Motion”), Plaintiff Republican National

Committee (“RNC”) asks this Court to prevent Salesforce.com, Inc. (“Salesforce”) from

producing information sought by the House Select Committee to Investigate the January 6th

Attack on the U.S. Capitol (“Select Committee”). The Select Committee is “investigating the

single most deadly attack on the Capitol by domestic forces in the history of the United States”

to determine the need for legislation to “ensur[e] the safe and uninterrupted conduct of

[Congress’s] constitutionally assigned business.” Trump v. Thompson, 20 F.4th 10, 41–42 (D.C.

Cir. 2021), injunction denied, 142 S. Ct. 680 (2022), cert. denied, No. 21-932 (Feb. 22, 2022).

Through its subpoena to Salesforce (“Subpoena”), the Select Committee seeks information

regarding “whether and how the Trump campaign used Salesforce’s platform to disseminate

false statements about the 2020 election in the weeks leading up to the January 6th attack.”

March 15, 2022 Declaration of Christian Schaeffer, ECF No. 8-2 (“Schaeffer Decl.”), Exhibit A

at 5. Contrary to the RNC’s suggestion, the Subpoena does not seek email content, individual-

specific information, nor any information about whether email recipients made financial

contributions. Despite acknowledging that the January 6th attack was “an attack on our country

and its founding principles,” the RNC asks this Court to enjoin Salesforce from complying with

the Subpoena. For multiple reasons, the Court should deny this extraordinary application.

       First, as the Supreme Court held in Eastland v. U. S. Servicemen’s Fund, the Speech or

Debate Clause operates as an “absolute bar” to the injunctive relief the RNC seeks. 421 U.S.

491, 503 (1975). Because the investigation into the January 6th attack falls well within the

“legitimate legislative sphere,” the RNC may not use this civil action to interfere with that

investigation. Id.




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       Second, even if the RNC could overcome this absolute bar, the Court should reject its

constitutional challenges, including its challenge based on the First Amendment. Under any

plausible balancing test, the public’s interest in a thorough investigation of the January 6th attack

strongly outweighs the RNC’s speculative concern, see Mem. of P. & A. in Supp. of Pl.’s Mot.

for Prelim. Inj., ECF No. 8-1 (“Pl.’s Mem.”) at 13, that the Select Committee “could” use

Salesforce’s information to discern the RNC’s digital political strategy.

       Third, the Select Committee’s request for five categories of documents from a period of

from November 2020 through January 2021—the precise period when the RNC and the Trump

campaign were using Salesforce to send emails that may have contributed to the January 6th

attack—is sufficiently focused under any applicable Fourth Amendment requirements.

       Fourth, the RNC’s argument that the Select Committee lacks a valid legislative purpose

is foreclosed by the D.C. Circuit’s recent decision in Trump v. Thompson. There, the D.C.

Circuit held that “the January 6th Committee plainly has a ‘valid legislative purpose’ and its

inquiry ‘concerns a subject on which legislation could be had.’” 20 F.4th at 41. The RNC fails

to mention this controlling decision in its Motion, and there is no basis to depart from it.

       Fifth, the RNC is not entitled to injunctive relief on the ground that the Subpoena was not

issued in accordance with House Resolution 503 and other applicable House Rules. Pl.’s Mem.

at 20–22. Congress is entitled to extreme deference when interpreting its own rules. Like the

other courts that have addressed similar arguments, this Court should refuse to usurp Congress’s

authority by substituting its own interpretation.

       Sixth, the Subpoena does not violate the Stored Communications Act. Contrary to the

RNC’s contention, the Subpoena does not seek the contents of stored communications. Nor does

the Act prohibit Salesforce’s production of other records to a legislative body.




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       The RNC has also failed to demonstrate it is likely to suffer irreparable harm absent a

preliminary injunction. It has made no showing that Salesforce’s compliance with the Subpoena

will interfere with its ability to express its political views, fundraise, promote candidates, or

advance policy goals. Nor has it demonstrated that it will suffer competitive or monetary harm.

       In addition, the public interest in allowing the Select Committee to obtain the information

it needs to complete its investigation relating to the January 6th attack strongly outweighs any

privacy interest of the RNC in keeping its marketing metrics confidential.

       Finally, the Select Committee respectfully requests that, as permitted by Federal Rule of

Civil Procedure 65(a)(2), the Court “advance the trial on the merits and consolidate it with the

hearing.” The sole question—whether the Select Committee’s Subpoena to Salesforce is a valid

exercise of legislative power—will be fully briefed, and an additional round of legal arguments

would yield no benefits. This matter solely involves questions of law, and discovery is neither

necessary nor permitted. See, e.g., U.S. Const. art. I, § 6, cl. 1; Eastland, 421 U.S. at 503

(“Legislators acting within the sphere of legitimate legislative activity should be protected not

only from the consequences of litigation’s results but also from the burden of defending

themselves.” (internal quotation marks omitted)). Additionally, as explained below, given the

Select Committee’s extraordinary investigative need for these records to complete its

investigation, this expedited procedure is justified.

       For these and the other reasons set forth below, the RNC’s motion for a preliminary

injunction should be denied, and Salesforce should be left free to comply with the Subpoena.

                                   FACTUAL BACKGROUND

       The Select Committee is investigating the facts, circumstances, and causes of the January

6th attack and issues relating to the peaceful transfer of power. The inquiry includes




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examination of how various individuals and entities coordinated their activities leading up to the

events of January 6, 2021, as well as the influencing factors that fomented the attack on the

United States Capitol. The recipient of the subpoena at issue, Salesforce, reportedly had

concerns that the RNC’s use of its services could contribute to politically-incited violence.

Salesforce stated that it was “deeply troubled by the terrible events of January 6th” and that it

“took action” to prevent the RNC’s use of Salesforce services in a way that could lead to further

violence.1 Salesforce’s decision to announce such concerns and take action with respect to the

RNC—a long-standing customer—led the Select Committee to investigate further by issuing its

subpoena.

       The voluminous messaging from the RNC and other entities (described below), and

public reporting about their activities, show that the RNC and others aggressively pushed false

“stolen election” messaging in the time leading up to the attack on January 6th. The statements

of individuals charged with committing violence at the Capitol on January 6th indicate that the

“stolen election” narrative motivated their violent attack.2 The Select Committee intends to

investigate why the RNC (and certain other entities) aggressively pursued this post-election




1
  Jason Koebler and Joseph Cox, Salesforce ‘Takes Action’ to Prevent RNC Emails From
Inciting Violence, VICE (Jan. 11, 2021, 4:40 PM), https://www.vice.com/en/article/pkdmdv/
salesforce-takes-action-to-prevent-rnc-emails-from-inciting-violence.
2
  A number of defendants in pending criminal cases have identified President Trump’s
allegations about the “stolen election” as a motivation for their activities at the Capitol. See, e.g.,
Compl., United States v. Sandlin, 1:21-cr-00088 (DLF) (D.D.C. Jan. 20, 2021), ECF No. 1-1 at 5
(“I’m going to be there to show support for our president and to do my part to stop the steal and
stand behind Trump when he decides to cross the rubicon.”); Indictment, United States v. Neefe,
et al., No. 21-cr-00567 (RCL) (D.D.C. Sep. 8, 2021), ECF No. 1 ¶ 22 (“Trump is literally calling
people to DC in a show of force. Militias will be there and if there’s enough people they may
fucking storm the buildings and take out the trash right there.”).


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messaging campaign despite the fact that President Trump’s false claims were rejected by other

federal officials and in lawsuit after lawsuit during the relevant timeframe.3

       Consequently, the Select Committee is investigating the motivation for these

organizations to spread a false narrative that, in turn, motivated violent attacks on the

constitutional process at the Capitol on January 6th. The Select Committee intends to consider

whether the many millions of dollars raised shaped how Donald J. Trump for President Inc. (the

“Trump Campaign”), the RNC, and Save America—President Trump’s leadership political

action committee (“leadership PAC”) created shortly after the election4—continued a false

messaging campaign after the election by soliciting small-dollar donations by email and text

message. These fundraising efforts are of interest to the Select Committee because they included

the propagation of false claims that the election was stolen, a theme January 6th participants have

identified as a motivating cause of their participation in the Capitol attack.

A.     The RNC and the Trump Campaign Used Salesforce to Jointly Send Inflammatory
       Emails Challenging the Validity of the Election

       During the 2020 election cycle, President Trump and the RNC reportedly raised money

jointly from small-dollar donors through the Trump Make America Great Again Committee

(commonly referred to by its acronym TMAGAC and pronounced “T-Magic”).5 These


3
 While this factual background cites publicly reported articles, the Select Committee does not
view this as primary evidence in its investigation. The reporting cited herein provides a basis for
some aspects of the Select Committee’s need to investigate matters related to the Salesforce
subpoena.
4
 Philip Bump, What the Trump family’s new political committees can and can’t do, WASH. POST
(Dec. 1, 2020), https://www.washingtonpost.com/politics/2020/12/01/what-trump-familys-new-
political-committees-can-cant-do/ (explaining that unlike campaign funds, which have tight
controls on spending, leadership PACs carry few restrictions on how money raised can be spent).
5
 Alex Thompson, RNC assembles team to reelect Trump, POLITICO (Mar. 1, 2019),
https://www.politico.com/story/2019/03/01/trump-2020-rnc-1197115.



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organizations reportedly did this by utilizing Salesforce services.6 Immediately after the

election, TMAGAC began sending fundraising emails that repeatedly asserted false claims that

the 2020 Presidential election was stolen. These emails indicated on their face that they were

“Paid for by the Trump Make America Great Again Committee, a joint fundraising committee

authorized by and composed of Donald J. Trump for President, Inc., and the Republican National

Committee.”7 After the formation of Save America, the emails indicated that they were “Paid

for by the Trump Make America Great Again Committee, a joint fundraising committee

authorized by and composed of Donald J. Trump for President, Inc., Save America, and the

Republican National Committee.”8

         RNC employees reportedly drafted and tracked these emails, which were sent to millions

of recipients and monitored using Salesforce-owned tools.9 As described below, these Salesforce

tools allowed the RNC to observe aggregated information about its email campaign in real time,

including how many emails or messages were opened, delivered, and clicked, but Salesforce did

not include individual-specific information. During the first month alone of President Trump’s

post-election challenges, his political operation and the RNC jointly sent out over 400 different




6
    Koebler and Cox, supra note 1.
7
 See November 4, 2020 TMAGAC Fundraising Email, available at https://politicalemails.org/
messages/293188.
8
 See December 23, 2020 TMAGAC Fundraising Email, available at https://politicalemails.org/
messages/324994.
9
 Josh Dawsey, et al., Inside the Jan. 6 committee’s effort to trace every dollar raised and spent
based on Trump’s false election claims, WASH. POST (Mar. 8, 2022)
https://www.washingtonpost.com/politics/2022/03/08/jan-6-fundraising-trump/.



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fundraising appeals via email.10 Hundreds more were sent before January 6, 2021.11 The content

of these fundraising emails is publicly available from multiple sources.12 And reporting indicates

these post-election stolen election claims were highly effective at raising money for President

Trump’s political operation and the RNC.13

           The Select Committee is concerned about reports showing that the post-election stolen

election claims, and related claims that the election could be reversed, were a significant

motivating factor for the donors that contributed to President Trump’s fundraising efforts.

Notably, “records show that his fundraising fell sharply in December [2020] compared with

November [2020], with an especially notable dip after December 14, the day the Electoral

College formally cast its ballots to make Joseph Biden the nation’s 46th president.”14 In the two

weeks before the Electoral College vote, “Mr. Trump and the [RNC] had raised an average of




10
   Fredreka Schouten, Trump raises more than $207 million since Election Day as he pushes
baseless election fraud claims, CNN (Dec. 4, 2020),
https://www.cnn.com/2020/12/03/politics/trump-fundraising-election-day/index.html.
11
   The Twitter account Trump Fundraising Emails (@TrumpEmail),
https://twitter.com/TrumpEmail, tracked fundraising emails sent on behalf of President Trump.
As noted at the account’s page, the complete set of emails is available at
https://docs.google.com/spreadsheets/d/12RBc04a_b0CCbtJJbow6Hit40rwUEMCFFhnVuOAH
GtI/edit#gid=217550794.
12
  ARCHIVE OF POLITICAL EMAILS, https://politicalemails.org/; PRINCETON CORPUS OF POLITICAL
EMAILS, https://electionemails2020.org/; Trump Fundraising Emails (@TrumpEmail), TWITTER
(Jan. 6, 2021), https://twitter.com/TrumpEmail/status/1346887173438636032?s=20.
13
   Shane Goldmacher and Rachel Shorey, Trump Raised $255.4 Million in 8 Weeks as He Sought
to Overturn Election Result, N.Y. TIMES (Jan. 31, 2021, updated Mar. 9, 2021),
https://www.nytimes.com/2021/01/31/us/politics/trump-voter-fraud-fundraising.html (noting
“Mr. Trump’s strongest fund-raising came in the immediate aftermath of the election, such as
after major media organizations declared that Joseph R. Biden Jr. had won on Nov. 7”).
14
     Id.


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$2.9 million every day online; in the two weeks after, the average was $1.2 million.”15 His

“extraordinary” fundraising success reportedly came “mostly from grass-roots and online

contributors” inspired by his repeatedly disproven claims about the election.16

           After Election Day, President Trump, his campaign, and his political allies received

repeated confirmation of the validity of the election results.17 When they filed dozens of lawsuits

asking federal and state courts to nullify the election results based on myriad unsubstantiated

claims of irregularities,18 the courts rejected all of those challenges, except for one.19 By January




15
     Id.
16
   Shane Goldmacher and Rachel Shorey, Trump’s Sleight of Hand: Shouting Fraud, Pocketing
Donors’ Cash for Future, N.Y. TIMES (Feb. 1, 2021, updated Oct. 5, 2021),
https://www.nytimes.com/2021/02/01/us/politics/trump-cash.html.
17
  See, e.g., Congressional Defendants’ Brief in Opposition to Plaintiff’s Privilege Assertions,
Eastman v. Thompson, 8:22-cv-00099 (C.D. Ca. Mar. 3, 2022), ECF No. 164-1 at 3–16, 47–51.
18
   See William Cummings, et al., By the numbers: President Donald Trump’s failed efforts to
overturn the election, USA TODAY (Jan. 6, 2021), https://perma.cc/683S-HSRC (noting that
“[t]he president and his allies filed 62 lawsuits in state and federal courts seeking to overturn
election results in states the president lost”).
19
   Id. (noting that “[o]ut of the 62 lawsuits filed challenging the presidential election, 61 have
failed”). For relevant examples of decisions addressing President Trump’s claims of fraud and
irregularities, see, e.g., Donald J. Trump for President, Inc. v. Boockvar, 502 F. Supp. 3d 899,
906 (M.D. Pa. 2020) (“[T]his Court has been presented with strained legal arguments without
merit and speculative accusations, unpled in the operative complaint and unsupported by
evidence.”); Ward v. Jackson, No. CV-20-0343-AP/EL, 2020 WL 8617817, at *2 (Ariz. Dec. 8,
2020) (plaintiff failed “to present any evidence of ‘misconduct,’ ‘illegal votes’ or that the Biden
Electors ‘did not in fact receive the highest number of votes for office,’ let alone establish any
degree of fraud or a sufficient error rate that would undermine the certainty of the election
results”); Trump v. Wis. Elections Comm’n, 506 F. Supp. 3d 620 (E.D. Wis. 2020); Trump v.
Wis. Elections Comm’n, 983 F.3d 919, 927 (7th Cir. 2020); Wood v. Raffensperger, 501 F. Supp.
3d 1310, 1331 (N.D. Ga. 2020); Wood v. Raffensperger, 981 F.3d 1307, 1310 (11th Cir. 2020);
Op. & Order, Costantino v. City of Detroit, 20-014780-AW (Wayne Cty. Cir. Ct. Nov. 13, 2020).

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6, 2021, the President and his associates had lost over sixty lawsuits in seven states, some of

which directly raised and addressed allegations of fraud.20

          The Electoral College met in the several states on December 14, 2020, and a majority of

electors voted for Mr. Biden. But President Trump continued to press a plan to overturn those

results at the next milestone in the Electoral College process:21 the joint session of Congress on

January 6th, during which the Congress would formally count the electoral votes. This refusal to

accept the election results was circulated in fundraising emails sent jointly by his political

operation and the RNC after the states’ certification.

          For example, on December 22, 2020, TMAGAC fundraisers sent an email with the

subject line “We’re taking this to the Supreme Court” and the preheader “The fight isn’t over.”

The body of the fundraising email stated, “The Democrats are trying to get away with

STEALING this election, and only YOU can stop them.”22 TMAGAC sent another email the

same day that asked, “Do you want our Country to be run by Joe Biden, who would be an

illegitimate President?”23 Similarly, on December 27, 2020, and January 4, 2021, TMAGAC




20
     Cummings, et al., supra note 18.
21
   President Trump’s January 30, 2022 public statement acknowledges that he was attempting to
“overturn” the election on January 6, 2021. Statement by Donald J.Trump, 45th President of the
United States of America, SAVE AMERICA, WWW.DONALDJTRUMP.COM (Jan. 30, 2022),
https://perma.cc/6X2U-E6X2.
22
   Trump Fundraising Emails (@Trump Email), TWITTER (Dec. 22, 2020, 9:24 PM),
https://twitter.com/TrumpEmail/status/1341570397729386497.
23
     Id. (Dec. 22, 2020, 12:20 PM), https://twitter.com/TrumpEmail/status/1341433522331017217.



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again sent the same message to millions of President Trump’s supporters that President Biden

would be an illegitimate President.24

         TMAGAC also directly solicited funds by claiming that the election could be overturned

during the January 6th joint session of Congress. On January 6, 2021, TMAGAC sent an email

with the subject line “TODAY” and the preheader “This is our LAST CHANCE.” The body of

the fundraising email stated, “We need to make sure you’re aware of how important today is.

Congress will vote this afternoon to certify, or object to, the Election results . . . The stakes have

NEVER been higher. President Trump needs YOU to make a statement and publicly stand with

him and FIGHT BACK.”25 Later that same day, TMAGAC sent the following fundraising

email: “We have the TRUTH . . . TODAY will be a historic day in our Nation’s history . . .

Every single Patriot from across the Country must step up RIGHT NOW if we’re going to

successfully DEFEND the integrity of this Election. President Trump is calling on YOU to

bolster our Official Defend America Fund.”26

B.       The January 6th Attack

         Less than an hour after that email was sent, domestic terrorists seeking to stop the

peaceful transfer of power following the 2020 Presidential election launched a violent assault on

the United States Capitol. Id.; H. Res. 503, 117th Cong. (2021), Preamble. As the RNC itself

describes the event, “a mob entered the U.S. Capitol . . . to interfere with Congress’s counting

and certification of electoral votes for president and vice president. Some members of the mob



24
   Id. (Dec. 27, 2020, 3:23 PM), https://twitter.com/TrumpEmail/status/1343291529943781378;
id. (Jan. 4, 2021, 7:22 AM), https://twitter.com/TrumpEmail/status/1346069487800492033.
25
     Id. (Jan. 6, 2021, 11:29 AM), https://twitter.com/TrumpEmail/status/1346856536338030601.
26
   Id. (Jan. 6, 2021, 1:31 PM),
https://twitter.com/TrumpEmail/status/1346887173438636032?s=20.


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attacked Capitol police officers, vandalized portions of the Capitol itself, and forced their way

into the Senate Chamber.” Pl.’s Mem. at 1–2 (internal citations omitted). The RNC publicly

denounced the violence and described the events of January 6th as “an attack on our country and

its founding principles.” Id. at 2.

       As the D.C. Circuit stated, “[t]he rampage left multiple people dead, injured more than

140 people, and inflicted millions of dollars in damage to the Capitol.” Trump v. Thompson, 20

F.4th at 15.

       There is evidence that numerous defendants charged with violations related to the

January 6th attack on the U.S. Capitol and others present on the Capitol grounds that day were

motivated by false claims about the election.27 In fact, many defendants in pending criminal

cases identified President Trump’s allegations about the “stolen election” as a motivation for

their activities at the Capitol; a number also specifically cited President Trump’s messages

asking that supporters come to Washington, D.C. on January 6th.28




27
   See, e.g., Allan Smith, Capitol riot suspects ramped up donations to Trump after his election
defeat, NBC NEWS (Mar. 24, 2021), https://www.nbcnews.com/politics/donald-trump/capitol-
riot-suspects-ramped-donations-trump-after-his-election-defeat-n1261431.
28
   See, e.g., supra note 2 (“Trump is literally calling people to DC in a show of force. Militias
will be there and if there’s enough people they may fucking storm the buildings and take out the
trash right there.”); First Superseding Indictment, United States of America v. Caldwell, et al.,
21-cr-28 (APM) (D.D.C. Feb. 19, 2021), ECF No. 27 ¶ 35.a. (“Trump . . . called us all to the
Capitol and wants us to make it wild!!! Sir Yes Sir!!! Gentlemen we are heading to DC pack
your shit!!”); Mot. to Revoke Detention Order and for Pretrial Release, United States v.
Fitzsimons, 21-cr-158 (RC) (D.D.C. Aug. 27, 2021), ECF No. 34 at 3–4 (noting defendant
“believed voter fraud [had] occurred” and that he was “[c]onvinced that the election results had
been fraudulently reported, he was moved by the words of then-President Trump to travel to the
District of Columbia for the ‘Save America Rally’”).



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C.         The Salesforce Tools the RNC Used and Their Cessation After January 6th

           In the aftermath of the attack on the U.S. Capitol, Salesforce reportedly believed that

“there remains a risk of politically incited violence across the country.”29 Salesforce viewed the

RNC’s continued use of their services as potentially exacerbating this risk. In light of that risk,

Salesforce stated, “The Republican National Committee has been a long-standing customer,

predating the [Trump] Administration, and we have taken action to prevent its use of our services

in any way that could lead to violence.”30 Following Salesforce’s action, the RNC announced

that it had agreed to cease fundraising on all of its digital platforms, “including Salesforce.”31

The Trump campaign’s email account, contact@victory.donaldtrump.com, which had previously

sent multiple emails each day, went “silent.”32

           Salesforce has yet to publicly elaborate on the connection it saw between the “use of [its]

services” and the violence on January 6, 2021, or to explain the “actions” it took.33 But

investigating the connection that Salesforce saw between these fundraising emails and violence

is critical to the Select Committee’s work.

           Salesforce tracks broad analytics regarding email campaigns and presents them to the

customer on dashboards.34 Such a platform allows the customer to make data-based decisions



29
     Koebler and Cox, supra note 1.
30
  Id.; Zoe Schiffer, Salesforce says it has taken action against the RNC, but won’t say how, THE
VERGE, (Jan. 11, 2021), https://www.theverge.com/2021/1/11/22225936/salesforce-stop-rnc-
sending-emails-incite-violence.
31
     Koebler and Cox, supra note 1.
32
     Id.
33
     Schiffer, supra note 30.




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regarding future email campaigns. Salesforce’s summary statistics dashboard let TMAGAC

fundraisers see how their fundraising email campaigns performed in real-time and make

decisions about future email campaigns based on those performance metrics. The Select

Committee understands that TMAGAC fundraisers reviewed such data in Salesforce’s Datorama

tool, which also produced “Datorama Reports.”35

          Salesforce publicly represents that “Datorama Reports for Marketing Cloud doesn’t

display subscriber-level data or event-level data. However, subscriber-level data can be used to

generate campaign-level analytics.” Id. (emphasis added). And, “[w]ith Datorama Reports for

Marketing Cloud you can see how many emails or messages were opened, delivered, and

clicked. The data that is displayed is daily aggregated metrics.” Id. This description is

consistent with conversations Select Committee staff had with counsel for Salesforce prior to the

issuance of the subpoena to Salesforce.36 It is consistent with the language used in the subpoena

the Select Committee issued, which seeks aggregated data, “including . . . delivery metrics (send

rates and bounce rates), engagement metrics (opens, open rates, clicks, click rates, and click-to-

open rates), time attributes, and message attributes.”37 It is also consistent with the position

Chairman Thompson took in a letter to Salesforce on March 21, 2022, reflecting the Select

Committee’s continuing understanding regarding Salesforce’s operations.38


34
  Salesforce Marketing Cloud, Datorama Reports for Marketing Cloud, YOUTUBE (Jan. 19,
2021) https://www.youtube.com/watch?v=rO4OzRkNB-U.
35
   Salesforce, Overview of Data in Datorama Reports, HELP.SALESFORCE.COM,
https://help.salesforce.com/s/articleView?id=sf.mc_dat_data_overview.htm&type=5.
36
  See Letter from Bennie G. Thompson to Salesforce.com, Inc. (March 21, 2022), Ex. 1 to
Tatelman Decl.
37
     Schaeffer Decl., Ex. A at 6.
38
     See supra note 36.


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D.     The Formation of the Select Committee

       In response to the unprecedented attack, the House of Representatives adopted House

Resolution 503, “establish[ing] the Select Committee to Investigate the January 6th Attack on the

United States Capitol.” H. Res. 503, § 1. That resolution authorizes the Select Committee to: (1)

“investigate the facts, circumstances, and causes relating to the domestic terrorist attack on the

Capitol”; (2) “identify, review, and evaluate the causes of and the lessons learned from the

domestic terrorist attack on the Capitol”; and (3) “issue a final report to the House containing

such findings, conclusions, and recommendations for corrective measures . . . as it may deem

necessary.” H. Res. 503, § 4(a)(1)-(3). The resolution further describes categories of potential

corrective measures: “changes in law, policy, procedure, rules or regulations that could be taken”

(1) “to prevent future acts of violence, domestic terrorism, and domestic violent extremism,

including acts targeted at American democratic institutions”; (2) “to improve the security posture

of the United States Capitol Complex while preserving accessibility of the Capitol Complex for

all Americans”; and (3) “to strengthen the security and resilience of the United States and

American democratic institutions against violence, domestic terrorism, and domestic violent

extremism.” H. Res. 503, § 4(c).

       To carry out those functions, House Resolution 503 authorizes the Speaker of the House

to appoint up to thirteen Members to the Select Committee, five of whom “shall be appointed

after consultation with the minority leader.” H. Res. 503, § 2(a). Consistent with the Resolution,

the Speaker initially appointed seven Democrats and one Republican, and then consulted with

the House Minority Leader, who recommended five additional Republicans for appointment to

the Select Committee. The Speaker then spoke with the Minority Leader, advised that she would

appoint three of the Members he had recommended, and asked the Minority Leader to




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recommend two other Republicans.39 After the Minority Leader declined and, instead, withdrew

all five recommendations, the Speaker named an additional Republican to the Select

Committee.40

       The Speaker appointed Representative Bennie Thompson as Chair of the Select

Committee. Amend. Compl. ¶ 67. Chairman Thompson subsequently appointed Republican

Representative Liz Cheney to serve as Vice Chair of the Select Committee. Id. ¶ 71. Since then,

the Select Committee has operated with seven Democrats and two Republicans. Id. ¶¶ 67, 70.

E.     The Select Committee’s Subpoena to Salesforce

        In furtherance of its duty to “investigate the facts, circumstances, and causes” of the

attack of January 6th, the Select Committee has issued subpoenas to government agencies,

private businesses, and individuals. On February 23, 2022, after consulting with Representative

Cheney, Chairman Thompson issued the Subpoena to Salesforce at issue here. In his cover

letter, Chairman Thompson cited public reporting that, “between election day and January 6,

2021, the Trump campaign and the RNC jointly sent out hundreds of emails to supporters using a

Salesforce-owned tool.” Schaeffer Decl. Ex. A at 3. This public reporting described the tenor of

those emails as “inflammatory, with nearly every email suggesting that the election was

fraudulent, that Democrats had stolen the election, and that Congress needed to be pressured to

overturn the results to keep Trump in power.” Id. Chairman Thompson noted that evidence




 Press Release, Nancy Pelosi, Speaker, H.R., Pelosi Statement on Republican
39

Recommendations to Serve on the Select Comm. to Investigate the Jan. 6 Attack on the U.S.
Capitol (July 21, 2021), https://www.speaker.gov/newsroom/72121-2.

40
  Press Release, Kevin McCarthy, H. Republican Leader, McCarthy Statement about Pelosi’s
Abuse of Power on January 6th Select Committee (July 21, 2021),
https://republicanleader.house.gov/mccarthy-statement-about-pelosis-abuse-of-power-on-
january-6th-select-committee/.


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indicated that numerous participants in the January 6th attack were motivated by these “false

claims about the election.” Id. at 4. He also cited Salesforce’s announcement that, considering

the ongoing risk of “politically incited violence,” it had taken action to prevent the RNC from

using Salesforce’s services “in any way that could lead to violence.” Id.

       Through the Subpoena, the Select Committee seeks information from Salesforce

“regarding whether and how the Trump campaign used Salesforce’s platform to disseminate

false statements about the 2020 election in the weeks leading up to the January 6th attack.” Id.

Specifically, the Select Committee seeks a total of five categories of documents. Only the first

two categories seek documents relating to the RNC’s digital marketing campaign, and both

requests are narrowly tailored to the two-month period between November 3, 2020, and January

6, 2021. Id. at 5. The first request seeks “metrics” from the RNC’s email campaigns, such as

how many emails were sent (“send rates”), how many bounced back (“bounce rates”), how many

were opened (“open rates”), and how often a recipient clicked on a link in the email (“click

rates”). Id. This aggregated data would provide essential information about the reach and

impact of the fundraising emails by detailing how many emails were sent, when they were sent,

and how often recipients opened them and clicked through to donation pages. The second

request seeks user metadata concerning when and how often the orchestrators of the

inflammatory email campaign logged into the Salesforce platform. Such information would help

identify who at the Trump Campaign or the RNC was logging into Salesforce’s software to

review the aggregated data, the very purpose of which was to craft fundraising messages in the

future and send those emails. These records only reflect access logs and the Select Committee’s

request is expressly limited to cover the time period during which the platform was used to

bombard millions of Americans with claims about a stolen election. Significantly, for purposes




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of this case, neither request seeks the identities of the recipients of the emails, a list of RNC

donors, or internal strategic plans.

       The remaining categories of requests in the Subpoena do not seek documents directly

relating to the RNC’s digital strategic communications. The third and fourth categories seek

reports and analyses prepared by Salesforce, not by the RNC. The fifth and final category seeks

communications between Salesforce and representatives of the RNC or the Trump campaign

concerning the events leading up to the January 6th attack and their continued use of Salesforce’s

platforms. Id.

       On February 24, 2022, the day after the Select Committee issued the Subpoena, the RNC

received notice of the Subpoena from Salesforce. Am. Compl. ¶ 41.

F.     Procedural History

       Thirteen days after receiving notice of the Subpoena, on March 9, 2022, the RNC filed

the Complaint. Less than a week later, the RNC filed an Amended Complaint, which includes

six claims and seeks 14 categories of relief, including declaratory judgments that the Subpoena is

unlawful, an order modifying the Subpoena to seek only “unprivileged information,” and an

injunction quashing the Subpoena. Am. Compl. at 29–30. On March 16, the RNC filed the

Motion for Preliminary Injunction seeking to enjoin Salesforce from producing information in

response to the Subpoena. The Court set a briefing schedule and will hear argument April 1.




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                                            ARGUMENT

I.      LEGAL STANDARD

        A preliminary injunction is “an extraordinary remedy that may only be awarded upon a

clear showing that the plaintiff is entitled to such relief.” Winter v. Natural Res. Def. Council,

Inc., 555 U.S. 7, 22 (2008). To obtain this extraordinary remedy, a plaintiff must show: (1) it is

likely to succeed on the merits; (2) it is likely to suffer irreparable harm in the absence of

preliminary relief; (3) the balance of equities tips in its favor; and (4) an injunction is in the

public interest. See Winter, 555 U.S. at 20.

        A failure to show likelihood of success on the merits is enough to defeat a motion for a

preliminary injunction. See Ark. Dairy Co-op Ass’n, Inc. v. USDA, 573 F.3d 815, 832 (D.C. Cir.

2009). Likewise, a failure to show irreparable harm is a sufficient ground to deny the

preliminary injunction “even if the other three factors entering the calculus” weigh in favor.

Chaplaincy of Full Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006).

II.     THE RNC CANNOT DEMONSTRATE A LIKELIHOOD OF SUCCESS ON THE
        MERITS

        A.      The Speech or Debate Clause Bars the RNC from Obtaining an Injunction

        The RNC cannot demonstrate a likelihood of success because the Speech or Debate

Clause bars its lawsuit and its application for injunctive relief. The Clause provides that “any

Speech or Debate in either House, [Senators and Representatives] shall not be questioned in any

other Place.” U.S. Const. art. I, § 6, cl. 1. By “freeing the legislator from executive and judicial

oversight that realistically threatens to control his conduct,” Gravel v. United States, 408 U.S.

606, 618 (1972), the Clause both “preserve[s] the independence and . . . integrity of the

legislative process,” United States v. Brewster, 408 U.S. 501, 524 (1972), and “reinforc[es] the

separation of powers,” Eastland, 421 U.S. at 502. “[I]t is long settled that the Clause’s



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protections range beyond just the acts of speaking and debating.” McCarthy v. Pelosi, 5 F.4th

34, 38 (D.C. Cir. 2021), cert. denied, 142 S. Ct. 897 (Jan 24, 2022). Indeed, the “Supreme Court

has consistently read the Speech or Debate Clause ‘broadly’ to achieve its purposes.” Rangel v.

Boehner, 785 F.3d 19, 23 (D.C. Cir. 2015) (quoting Eastland, 421 U.S. at 501). The protections

of the Clause extend not only to Congress, but to its committees as well. See, e.g., Eastland, 421

U.S. at 501; McSurely v. McClellan, 521 F.2d 1024, 1036–37 (D.C. Cir. 1975); Pentagen Techs.

Int’l, Ltd. v. Comm. on Appropriations of U.S. House of Reps., 20 F. Supp. 2d 41, 43–45 (D.D.C.

1998).

         In Eastland, the Supreme Court applied the Speech or Debate Clause to reject a challenge

to a subpoena issued by a Senate subcommittee. In connection with its investigation of

subversive activities, the subcommittee issued the subpoena to a bank for records relating to the

United States Servicemen’s Fund, Inc. (“USSF”), a nonprofit organization fomenting opposition

to the United States’ involvement in Southeast Asia. 421 U.S. at 494–95. Upon learning of the

subpoena, USSF brought an action against the members of the subcommittee and the bank,

arguing that the subpoena served to “harass, chill, punish and deter (USSF and its members) in

their exercise of their rights and duties under the First Amendment.” Id. As in this case, the

USSF asked the court to enjoin the “bank from complying with the subpoena.” Id. at 495–96.

         The Supreme Court held that, because the subcommittee was acting “within the

legitimate legislative sphere,” the Speech or Debate Clause operated as an “absolute bar” to

USSF’s action. Id. at 503. The Supreme Court reasoned that a holding to the contrary would

allow private litigation to “delay and disrupt the legislative function” and subject Congress to

“judicial power” in such a way that would “imperil” Congress’s “legislative independence.” Id.

The Court further held that the “absolute nature of the speech or debate protection” prohibited




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the Judiciary from intervening even if USSF alleged that its First Amendment rights had been

infringed. Id. at 509-10. Although the Court acknowledged the “potential for abuse” created by

the Clause, the Court noted this was the “conscious choice of the Framers.” Id. at 510–11.

        The D.C. Circuit has repeatedly confirmed the same broad scope of Congressional

independence in its investigations guaranteed by the separation of powers precludes the entry of

injunctive relief to impede a congressional investigation. In Hearst v. Black, 87 F.2d 68 (D.C.

Cir. 1936), the plaintiff sought to enjoin a Senate Special Committee from using documents that

had been obtained from local telegraph companies pursuant to “blanket subpoenas” for all

communications involving the plaintiff over a seven-month period. When the companies did not

cooperate with the subpoenas—which were far broader than the subpoena here—the Senate

committee worked with the Federal Communications Commission to locate and copy thousands

of telegrams to and from the target of its investigation. Id. at 68. Among the telegrams were

messages that “had no connection with the subject matter of the investigation” and which, the

plaintiff argued, would “result in the disclosure of . . . privileged and private information relating

to his private business affairs.” Id. at 69. As here, the plaintiff argued that the investigation

thereby violated his constitutional rights. Id. at 68–69. In reviewing the district court’s dismissal

of the action, the D.C. Circuit accepted all the uncontested allegations of the plaintiff as true, and

further assumed that the seizure of the messages was unlawful. See id. at 69. Nevertheless, the

unanimous panel held that no court could interfere with a Congressional investigation by suing

the members of the committee, holding that, “the universal rule, so far as we know it, is that the

legislative discretion in discharge of its constitutional functions, whether rightfully or wrongfully

exercised, is not a subject for judicial interference.” Id. at 71.




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       Hearst based its holding on the separation of powers principles that animate the Speech

or Debate Clause. As the court made clear, “[n]othing is better settled than that each of the three

great departments of government shall be independent and not subject to be controlled directly or

indirectly by either of the others.” Id. at 72; see also Eastland, 421 U.S. at 502 (“[The Clause]

reinforc[es] the separation of powers.”). And the court relied on the same constitutional

principles in rejecting the plaintiff’s contention that such judicial deference to the Congress and

its committees in the way they conducted their investigations would lead to unaddressed

constitutional violations. As it concluded, “[i]f it be insisted that this is the acknowledgment of a

power whose plenitude may become a cataclysm, the answer is that the Congress is as much the

guardian of the liberties and welfare of the people as the courts.’” Hearst, 87 F.2d at 72 (internal

quotation marks omitted).

       The D.C. Circuit reaffirmed the rule that the judiciary may not interfere with

Congressional investigations in Brown & Williamson Tobacco Corp. v. Williams, 62 F.3d 408

(D.C. Cir. 1995), even where it was alleged that Members of Congress were proceeding

improperly. In that case, a paralegal at a law firm representing a tobacco manufacturer had

stolen copies of internal, and presumptively privileged, documents, and provided them to two

Members of Congress. 62 F.3d at 411-12. After the press began publishing stories about the

documents, one of the Congressmen publicly admitted that he had, in fact, received documents

that were apparently stolen. Id. at 412. The company then sought to obtain copies of the

documents in the Congressmen’s possession through its own subpoenas directed to the two

Members.

       Writing for a unanimous panel, Judge Silberman began his analysis by accepting “that the

documents in question were in fact stolen (and that they were privileged).” Id. at 417.




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Nevertheless, the court held that the Speech or Debate Clause barred the subpoenas against the

congressmen. Id. at 423. The court explained that the protection of the Clause precluded even

inquiries that would “provide clues as to what Congress is doing, or might be about to do.” Id. at

420. And the court again held that the Clause “serves to insulate Members of Congress from

distractions that divert their time, energy, and attention from their legislative tasks,” and that “the

touchstone is interference with legislative activities.” Id. at 421 (internal quotations omitted).

       Most recently, in Senate Permanent Subcommittee on Investigation v. Ferrer, 856 F.3d

1080 (D.C. Cir. 2017), the D.C. Circuit confirmed its rulings in Hearst and Brown & Williamson,

and once again held that the courts lack jurisdiction to interfere with Congressional

investigations. In Ferrer, the plaintiff had partially complied with Congressional investigators

and, upon conclusion of the investigation, sought an order directing the subcommittee “to return,

destroy, or refrain from publishing the produced documents.” Id. at 1083. The Court, however,

held that such relief was “barred by the separation of powers, including the Speech or Debate

Clause.” Id. The court expressly reaffirmed that “Brown & Williamson and Hearst [] make clear

that” under the separation of powers, “[t]he judiciary has the duty of not lightly interfering with

Congress’ exercise of its legitimate powers.” Id. at 1086 (internal quotation marks omitted).

       Indeed, since Eastland, the D.C. Circuit has applied the Speech or Debate Clause in

numerous cases to bar challenges to various actions by Congress. See, e.g., Judicial Watch, Inc.

v. Schiff, 998 F.3d 989 (D.C. Cir. 2021) (holding that House committee’s issuance of subpoenas

was “a legislative act protected by the Speech or Debate Clause” and dismissing action brought

by nonprofit to obtain copies of the subpoenas and responses thereto); McCarthy v. Pelosi, 5

F.4th 34, 39 (D.C. Cir. 2021) (dismissing challenge to House resolution that enabled Members to

vote by proxy), cert. denied, 142 S. Ct. 897 (Jan. 24, 2022); McSurely v. McClellan, 553 F.2d




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1277, 1286 (D.C. Cir. 1976) (en banc) (“[I]nformation gathering, whether by issuance of

subpoenas or field work by a Senator or his staff, is essential to informed deliberation over

proposed legislation.”).

       In a recent case in this District, the court applied these cases to conclude that it lacked

jurisdiction to consider a challenge to a subpoena issued by the Select Committee: “I believe that

I do not have jurisdiction to consider this matter because of the Speech or Debate Clause.”

Budowich v. Pelosi, Civ. No. 21-3366 (JEB), Jan. 20, 2022 Tr. at 33:9–16 (attached as Exhibit

A).

       Like Eastland, here the Speech or Debate Clause serves as an “absolute bar” to the

RNC’s application for injunctive relief. As the D.C. Circuit has already held (and as discussed

further in Section II.C, infra), in investigating the January 6th attack and requesting information

to advance that investigation, the Select Committee “plainly has a ‘valid legislative purpose’ and

its inquiry ‘concern[s] a subject on which legislation could be had.’” Trump v. Thompson, 20

F.4th at 41 (affirming denial of preliminary injunction to prevent national archivist from

producing records in response to request from Select Committee (internal citations omitted)).

Because the Select Committee’s Subpoena to Salesforce is within this legitimate legislative

sphere, the Court may not interfere with Congress’s independence by entertaining the RNC’s

Motion.

       The consistent decisions of the Supreme Court and D.C. Circuit mandate denial of the

injunction. The RNC’s argument that the subpoenas and the Select Committee are illegitimate

does not change the analysis. As the D.C. Circuit has explained, similar arguments are “made in

almost every Speech or Debate Clause case” and have “been rejected time and again.” Rangel,

785 F.3d at 24. The Clause prevents a court from exercising jurisdiction when “a plaintiff




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alleges that [the act] violated the House Rules . . . or even the Constitution.” Id. at 24 (citing

Kilbourn, 103 U.S. at 203, and McMillan, 412 U.S. at 312–13). “Such is the nature of absolute

immunity, which is—in a word—absolute.” Id.

          The Court should deny the motion and dismiss this action based on the Speech or Debate

Clause.

          B.     The RNC’s Constitutional Claims Are Without Merit

          The Supreme Court definitively held in Eastland that Members of Congress cannot be

subject to constitutional claims in relation to the issuance of congressional subpoenas as part of

an authorized Congressional investigation. 421 U.S. at 509–11. Rejecting an organization’s

argument that a Congressional subpoena violated its First Amendment rights and that the

subpoena’s purposes was to “‘harass, chill, punish and deter’ them in the exercise of their First

Amendment rights,” the Court explained that it “ignore[d] the absolute nature of the speech or

debate protection.” Id. at 509–10. Rather, the Court observed, reading the Speech or Debate

Clause to permit a constitutional exception “would create an exception not warranted by the

language, purposes, or history of the Clause” and that the “consistently broad construction of the

. . . Clause” given by the Court “rest[ed] on the belief that it must be so construed to provide the

independence which is its central purpose.” Id. at 510–11. The Clause thus “provides an

absolute immunity from judicial interference.” Id. at 510 n.16.

          The Eastland decision forecloses the RNC’s constitutional challenges to the Subpoena.

Although Eastland specifically addressed a First Amendment challenge, the reasoning fully

applies to the RNC’s Fourth Amendment claim—otherwise, the “absolute immunity from

judicial interference” that Eastland promises would not amount to much at all. Id. at 510.




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             1.        The RNC’s Challenge Under the First Amendment Lacks Merit

       The RNC’s claim that the subpoena violates its First Amendment rights is squarely

foreclosed by Eastland. There, the Supreme Court rejected an organization’s argument that a

Congressional subpoena’s purpose was to “‘harass, chill, punish and deter’ [it] in the exercise of

[] First Amendment rights,” explaining that the typical First Amendment balancing test “plays no

part” when a Congressional subpoena is involved, and the Speech or Debate Clause “provides an

absolute immunity from judicial interference.” Id. at 510 n.16.

       The RNC’s First Amendment argument fails for two additional reasons.

       First, although the First Amendment protects the RNC and its members’ rights of free

association, those rights are not implicated by the Subpoena. As the D.C. Circuit has explained,

“[m]ore than fifty years ago, the Supreme Court held that the public disclosure of ‘who is being

hired, who is putting up the money, and how much’ they are spending to influence legislation is

‘a vital national interest.’” Nat’l Ass’n of Mfrs. v. Taylor, 582 F.3d 1, 6 (D.C. Cir. 2009) (citing

United States v. Harriss, 347 U.S. 612, 625–26 (1954)) (holding that campaign finance law that

required disclosure of donors’ identifying information did not violate First Amendment). With

regard to the RNC, the Subpoena seeks, and Salesforce will be disclosing, only metrics and

analytics relating to email campaigns—information that is far less substantive than the

information in Taylor. See also Bean LLC v. John Doe Bank, 291 F. Supp. 3d 34, 45–48

(D.D.C. 2018) (declining to enjoin Congressional subpoena to bank for records relating to

political consulting firm and finding the firm did not have “some special First Amendment

protection from subpoenas”).

       Associations seeking protection from compelled disclosure based on the First

Amendment generally must demonstrate a “reasonable probability that the compelled

disclosure . . . will subject them to threats, harassment, or reprisals from either Government


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officials or private parties.” Buckley v. Valeo, 424 U.S. 1, 66 (1976). The RNC does not

contend, let alone demonstrate, a reasonable probability that Salesforce’s production of

documents to the Select Committee will subject the RNC and its members to threats, harassment,

or reprisals. Rather, the RNC claims that the data “could” be used to reverse engineer its digital

political strategy and to glean its supporters’ political beliefs. Pl.’s. Mem. at 13. This is an

insufficient basis to challenge the Subpoena under the First Amendment. Moreover, unlike in

the cases cited by the RNC, the Select Committee is not seeking membership lists or other

information that would reveal the identity of the RNC’s donors, volunteers, and employees. See,

e.g., Am. Fed’n of Labor & Cong. of Indus. Org. v. Fed. Election Comm’n, 333 F.3d 168, 176

(D.C. Cir. 2003) (addressing First Amendment implications of compelled disclosure of the

“names of hundreds of volunteers, members, and employees”). Thus, even if the RNC could

demonstrate that its members, like those of the NAACP, face a risk of reprisals, there is no

reason to believe that disclosure of Salesforce’s documents would increase that risk. No case

cited by the RNC (and no case the Select Committee is aware of) holds that metrics of a political

party’s email campaign or user metadata in the possession of a third-party software service

implicates the First Amendment.

       Second, even if this information merits First Amendment protection, as the RNC

contends, Salesforce should be permitted to produce documents in response to the Subpoena.

“[T]he protections of the First Amendment, unlike a proper claim of the privilege against self-

incrimination under the Fifth Amendment, do not afford a witness the right to resist inquiry in all

circumstances.” Barenblatt v. United States, 360 U.S. 109, 126 (1959). In such cases, courts

must balance the “competing private and public interests at stake in the particular circumstances

shown.” Id. Some government interests, especially those involving the “free functioning of our




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national institutions” are “sufficiently important to outweigh the possibility of infringement.”

Buckley, 424 U.S. at 66; see also Senate Permanent Subcomm. v. Ferrer, 199 F. Supp. 3d 125,

138 (D.D.C. 2016) (holding that Congressional investigation interests “substantially outweighed”

any intrusion on subpoena recipient’s “incidental” First Amendment rights), vacated as moot,

856 F.3d 1080 (D.C. Cir. 2017). The Select Committee is investigating the deadliest attack on

the Capitol “in the history of the United States” to make “legislative recommendations” to

prevent future acts of such violence. Trump v. Thompson, 20 F.4th at 16, 41–42. The Select

Committee’s interest in obtaining documents from Salesforce necessarily involves the “free

functioning of our national institutions” and substantially outweighs any theoretical, incidental

harm identified by the RNC.

       The RNC further contends that, in addition to balancing the competing private and public

interest, the Court should determine whether the Subpoena is “narrowly tailored” to promote the

government’s interest. Pl.’s. Mem. at 11 (citing Americans for Prosperity Found. v. Bonta, 141

S. Ct. 2373, 2385 (2021)). But it cites no case (and the Select Committee is not aware of any) in

which a court has applied this standard to a Congressional subpoena. Indeed, courts that have

had the occasion to examine the scope of a legislative subpoena generally “only inquire as to

whether the documents sought by the subpoena are ‘not plainly incompetent or irrelevant to any

lawful purpose [of the Committee] in the discharge of [its] duties.’” Bean LLC, 291 F. Supp. 3d

at 44 (quoting McPhaul v. United States, 364 U.S. 372, 381 (1960)). Regardless, this Subpoena

meets the standard urged by the RNC. The Subpoena is narrowly tailored to obtain information

about whether and how political communications from the RNC and the Trump campaign

contributed to the January 6th attack.




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       As the RNC acknowledges, only two of the five categories in the Subpoena call for its

records. Pl.’s. Mem. at 13–14. Both categories call for data only from the two-month period

between Election Day and January 6, 2021. The first seeks “metrics” to help the Select

Committee determine the number of emails sent, how many Americans received them, how

many opened them, and the portion of recipients that clicked on links in the emails. This

information may assist the Select Committee in assessing the types and quantities of mass email

campaigns to target in any potential legislation to combat dangerous political disinformation.

The second request for “metadata” will help the Select Committee identify individuals who

logged on to the Salesforce system to author and execute the inflammatory email campaigns.

The Select Committee may then have an opportunity to question these key witnesses to learn

more. Contrary to the RNC’s suggestion, the Subpoena does not call for the disclosure of the

identities of donors and supporters or reveal its internal deliberative processes.41 Pl.’s. Mem. at

12–13. No such information should be contained in the “metrics” or “metadata” sought by the

Select Committee. Moreover, the fact that some of the communications may have related to the

run-off elections for U.S. Senate in Georgia does not render them irrelevant to the Select

Committee’s inquiry. On the contrary, the Select Committee may very well find that emails

relating to these run-off elections also included inflammatory disinformation that incited the

January 6th attack. Finally, the RNC provides no factual basis for its argument that documents

called for in the other three categories of the Subpoena—reports or analyses created by

Salesforce and direct communications between Salesforce and the RNC concerning the RNC’s

use of Salesforce’s platform—may contain sensitive data that implicates the First Amendment.



41
  See Letter from Bennie G. Thompson to Salesforce.com, Inc. (March 21, 2022), Ex. 1 to
Tatelman Decl.


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Accordingly, there is no basis to delay the Select Committee’s collection of this information by

allowing the RNC to conduct a “document-by-document [review].” Pl.’s. Mem. at 14.

               2.      The RNC’s Challenge Under the Fourth Amendment Lacks Merit

       The Court should similarly reject the RNC’s argument that the Subpoena violates its

rights under the Fourth Amendment. The Subpoena does not implicate the RNC’s Fourth

Amendment rights because it does not have a reasonable expectation of privacy with respect to

documents held by Salesforce. As the Supreme Court explained in Carpenter v. United States,

“a person has no legitimate expectation of privacy in information he voluntarily turns over to

third parties . . . even if the information is revealed on the assumption that it will be used only for

a limited purpose.” 138 S. Ct. 2206, 2216 (2018) (internal quotation marks omitted). Thus, the

government is generally “free to obtain such information from the recipient without triggering

Fourth Amendment protections.” Id. The Subpoena to Salesforce does not implicate the

historical location information for which Carpenter identified an exception to this rule.

        Moreover, even if the RNC had a reasonable expectation of privacy in the data it

voluntarily provided to Salesforce, the Subpoena does not violate the Fourth Amendment. A

subpoena is “reasonable” under the Fourth Amendment if it calls for documents or testimony

within the scope of the Congressional inquiry at issue. See McPhaul, 364 U.S. at 382. The D.C.

Circuit recently held that “Congress’s power to obtain information is broad and indispensable . . .

and encompasses inquiries into the administration of existing laws, studies of proposed laws, and

surveys of defects in our social, economic or political system for the purpose of enabling the

Congress to remedy them.” Thompson, 20 F.4th at 24 (internal punctuation omitted). The Court

continued, noting that “the January 6th Committee plainly has a valid legislative purpose and its




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inquiry concern[s] a subject on which legislation could be had.” Id. at 41 (internal quotation

marks omitted). Given this holding, the Subpoena is reasonable under the Fourth Amendment.

       As described above, the scope of the Select Committee’s inquiry includes examining the

January 6th attack as well as its “circumstances” and “causes” to inform a consideration of

“changes in law, policy, procedures, rules, or regulations.” H. Res. 503 § (3)(1), 4(c). The

documents sought in the Subpoena, which relate to “whether and how” Salesforce’s platform

was used “to disseminate false statements about the 2020 election in the weeks leading up to the

January 6th attack” are well within the scope of this inquiry. See Eastland, 421 U.S. at 509.

       The RNC’s argument that the Subpoena “demands materials wholly irrelevant to the

events of January 6, 2021” is wrong. When a Congressional subpoena is challenged on

relevance grounds, the subpoena should be enforced “unless the district court determines that

there is no reasonable possibility that the category of materials [the committee] seeks will

produce information relevant to the general subject of the . . . investigation.” Senate Select

Comm. on Ethics v. Packwood, 845 F. Supp. 17, 21 (D.D.C. 1994) (citing United States v. R.

Enterprises, Inc., 498 U.S. 292, 301 (1991)). Here, there is no question that the documents

sought from Salesforce have a reasonable probability of being relevant to the Select Committee’s

investigation of the circumstances and causes of the January 6th attack.

       The RNC mischaracterizes the Subpoena. It first complains that the Subpoena seeks “all

information on RNC email campaigns over a two-month period.” Pl.’s Mem. at 15. This is

false. The Select Committee does not seek the content of the emails, the names of the recipients,

or any information other than the “metrics” of the email campaign. Second, the RNC objects

that the Subpoena seeks “all information” regarding its use of Salesforce’s platform. Id. at 16.

This is also false. The Select Committee is seeking only log-in information. It is not seeking




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information concerning how much the RNC paid for Salesforce’s services, the duration of the

RNC’s contract with Salesforce, or details concerning the various products the RNC was entitled

to use. In any event, none of the RNC’s objections implicate the privacy associated with “diaries

or other communications respecting personal matters” that the Fourth Amendment is most

concerned with. Nixon v. Freeman, 670 F.2d 346, 354 (D.C. Cir. 1982). The RNC also suggests

that the Subpoena violates the Fourth Amendment because it “[i]nitially” did not receive direct

notice of the Subpoena from the Select Committee. Pl.’s Mem. at 16–18. The RNC cites no

authority for the proposition that the Select Committee had to give direct notice of the Subpoena

within a certain period. Nor is there any reason to adopt the protocol proposed in Packwood for

reviewing a Senator’s personal diaries for the Select Committee’s review of data concerning

millions of emails that may have incited a historical attack on the U.S. Capitol.

       C.      The Subpoena Serves a Valid Legislative Purpose

       The RNC next argues that Salesforce should be enjoined from complying with the

Subpoena because the Select Committee lacks a valid legislative purpose. Pl.’s Mem. at 18. The

D.C. Circuit has already rejected this argument, and its holding governs here.

       In Trump v. Thompson, 20 F.4th at 10, the former President sued the Select Committee

and the National Archives to enjoin the latter from producing to the Select Committee records

concerning the January 6th attack. The district court denied the requested injunction, and the

D.C. Circuit affirmed. As to the Select Committee’s purpose, the D.C. Circuit explained:

       The very essence of the Article I power is legislating, and so there would
       seem to be few, if any, more imperative interests squarely within Congress’s
       wheelhouse than ensuring the safe and uninterrupted conduct of its
       constitutionally assigned business. Here, the House of Representatives is
       investigating the single most deadly attack on the Capitol by domestic
       forces in the history of the United States.




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Id. at 35. Based on this reasoning, the D.C. Circuit concluded that “the January 6th Committee

plainly has a ‘valid legislative purpose’ and its inquiry ‘concern[s] a subject on which legislation

could be had.’” Id. at 42.

       The D.C. Circuit’s ruling is directly on point and bars the RNC’s argument that the Select

Committee lacks a legitimate legislative purpose. Two other federal courts, including one in this

District, have likewise recognized that the Select Committee is pursuing legitimate legislative

purposes. Budowich v. Pelosi, 21-cv-3366 (JEB) (D.D.C., Boasberg, J.), Jan. 20, 2022 Oral Arg.

Tr. at 34; Eastman v. Thompson, 8:22-cv-00099-DOC-DFM (C.D. Cal., Carter, J.), ECF No. 43

at 9 & n.12 (Jan. 25, 2022).

       Despite indicating an awareness of these multiple lawsuits challenging subpoenas issued

by the Select Committee, Pl.’s Mem. at 3, the RNC fails to cite or discuss any of these decisions

in its Motion and makes plainly incorrect arguments. The RNC suggests that the House

Resolution’s prohibition on holding a “marking up [of] legislation,” a specific procedure that

occurs later in the legislative process, means the Select Committee’s function has no relationship

to legislation. Pl.’s Mem. at 18–19. The RNC ignores the other sections of the Resolution,

which expressly authorize the Select Committee to recommend “corrective measures,” including

“changes in law, policy, procedures, rules, or regulations, that could be taken.” H. Res. 503

§ 4(c). Based on these sections, the D.C. Circuit concluded, “House Resolution 503 expressly

authorizes the Committee to propose legislative measures.” Trump v. Thompson, 20 F.4th at 41–

42.

       The RNC also selectively quotes from public comments by members of the Select

Committee to suggest that the exclusive purpose of the Select Committee is to pursue criminal

justice. This is false. As noted above, the Select Committee’s mission includes recommending




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corrective measures. Moreover, regardless of any relationship the investigation may have to the

disclosure of crimes, courts should “presume that the action of the legislative body was with a

legitimate object, if it is capable of being so construed.” McGrain, 273 U.S. at 178–80 (rejecting

objection to investigation on the ground that “it might possibly disclose crime or wrongdoing”).

As the D.C. Circuit has already held, the Select Committee has a valid legislative purpose.

       The Subpoena to Salesforce is in furtherance of that legislative purpose. As noted above,

the RNC and President Trump used Salesforce’s services to propagate false claims that the

election was stolen—a mistaken belief that motivated January 6th participants to engage in the

Capitol attack. The Select Committee is charged with investigating the facts and circumstances

that helped cause the attack, which will help it and Congress determine whether and how to

legislate to prevent its recurrence. Therefore, the Subpoena is squarely within the Select

Committee’s ambit.

       D.      The Select Committee Is Properly Composed

       The RNC’s various challenges to the Select Committee’s composition and adherence to

the House Rules are incorrect.

       Under the Rulemaking Clause of the Constitution, “[e]ach House may determine the

Rules of its Proceedings.” U.S. Const. art. I, § 5, cl. 2; see Baker v. Carr, 369 U.S. 186, 217

(1962). That provision is a critical aspect of the Legislative Branch’s constitutional design as it

“grants the House the power to make its own Rules about its internal proceedings,” Rangel v.

Boehner, 20 F. Supp. 3d 148, 167 (D.D.C. 2013), which “only empowers Congress to bind

itself,” INS v. Chadha, 462 U.S. 919, 955 n.21 (1983).

       Courts have long emphasized the deference owed to Congress in determining its own

rules. “[J]udicial interpretation of an ambiguous House Rule runs the risk of the court intruding

into the sphere of influence reserved to the legislative branch under the Constitution.” United


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States v. Rostenkowski, 59 F.3d 1291, 1306 (D.C. Cir. 1995). Thus, a court’s jurisdiction to

interpret internal rules of a House of Congress is limited to situations where such interpretation

“requires no resolution of ambiguities.” United States v. Durenberger, 48 F.3d 1239, 1244 (D.C.

Cir. 1995). “Where, however, a court cannot be confident that its interpretation is correct, there

is too great a chance that it will interpret the Rule differently than would the Congress itself; in

that circumstance, the court would effectively be making the Rules—a power that the

Rulemaking Clause reserves to each House alone.” Rostenkowski, 59 F.3d at 1306–07; accord

Metzenbaum v. FERC, 675 F.2d 1282, 1287 (D.C. Cir. 1982) (“To decide otherwise would

subject Congressional enactments to the threat of judicial invalidation on each occasion of

dispute over the content or effect of a House or Senate rule.”).

       Another judge in this district recently recognized the judiciary’s limited role in reviewing

Congressional rules in the context of the Select Committee’s composition. In Budowich, supra,

the court explained that it would reject arguments similar to those the RNC makes here: the

court would “have to defer to Congress in the manner of interpreting its rules,” and would be

“usurping Congressional authority” were it to hold that the Select Committee was not validly

composed. Jan. 20, 2022 Oral Arg. Tr. 34:1–5, 8–10, Budowich v. Pelosi, No. 21-cv-3366 (JEB)

(D.D.C. Jan. 20, 2022); see also Eastman, ECF No. 43 at 9 & n.12; Vander Jagt v. O’Neil, 699

F.2d 1166, 1175–77 (D.C. Cir. 1982) (affirming dismissal of relief sought by 14 House

Republican members claiming discrimination regarding committee assignments and rejecting the

“startlingly unattractive idea, given our respect for a coequal branch of government, for us to tell

the Speaker” whom to appoint to committees). For the same reasons, the RNC’s challenge to the

Select Committee’s composition rests on arguments not subject to judicial review.




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       First, the RNC complains that the Select Committee “is not composed as required under

H. Res. 503.” Pl.’s Mem. at 21. H. Res. 503, however, does not require that all thirteen

Members be appointed at once for the Select Committee to function, nor does the authorization

to appoint thirteen Members require the appointment of that precise number. See Gutierrez de

Martinez v. Lamagno, 515 U.S. 417, 432 n.9 (1995) (recognizing that “shall” sometimes means

“may”). Indeed, there is House precedent for such a select committee having fewer than its full

allotment of Members. In the 109th Congress, for instance, the House created the Select

Committee to Investigate the Preparation for and Response to Hurricane Katrina, which allowed

for twenty Members, using similar language. See H. Res. 437, § 2(a), 109th Cong. (2005) (“The

select committee shall be composed of 20 members appointed by the Speaker . . . .”). House

Speaker Dennis Hastert appointed only eleven Members, all of whom were from the Republican

majority party. See H. Rep. No. 109-377, ii, 109th Cong. (2006) (listing Members appointed by

Speaker Hastert). In fact, the Resolution even contemplates the possibility of “vacancies” but

does not provide a specific timeline for filling them. H. Res. 503, § 2(c). Nor does the

Resolution provide that the Select Committee becomes invalid or that it must suspend all action

when vacancies arise. Id.

       The fact that the full House has affirmatively ratified actions of the Select Committee

confirms the Select Committee is duly constituted. The full House approved the Select

Committee’s criminal referrals of Steven Bannon and Mark Meadows for contempt of Congress.

See H. Res. 730, 117th Cong. (2021) (Bannon); H. Res. 851, 117th Cong. (2021) (Meadows).

Both resolutions were reported by the Select Committee and approved by the full House. See

167 Cong. Rec. H5748-69, 117th Cong. (daily ed., Oct. 21, 2021); id. at H7667-76 (daily ed.,




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Dec. 14, 2021). The full House’s ratification of the referrals shows that the RNC’s objections to

its composition are mistaken.

       Second, the RNC complains that the Select Committee is improperly formed because

“Speaker Pelosi refused to appoint Rep. Banks, Leader McCarthy’s choice for Ranking

Member . . . to the Select Committee . . . and left the other seats vacant after Leader McCarthy

rescinded his recommendations in protest.” Pl.’s Mem. at 22. This argument is also incorrect.

The power to appoint House Members to select Committees rests exclusively with the Speaker of

the House. See Rule I.11, Rules of the U.S. House of Representatives, 117th Cong. (2021)

(“House Rules”) (“The Speaker shall appoint all select, joint, and conference committees ordered

by the House.”)42; 167 Cong. Rec. H37, 117th Cong. (daily ed. Jan. 4, 2021) (authorizing

Speaker to “accept resignations and to make appointments authorized by law or by the House”).

This is consistent with longstanding House precedent. See 8 Cannon’s Precedents of the U.S.

House of Representatives, § 2172 (citing “instances in which the majority declined to recognize

minority recommendations for committee assignments”).

       House Resolution 503 is not to the contrary. Had the House intended a binding role for

the Minority Leader, it could have legislated one, as it has in the past. See H. Res. 6,

§ 104(f)(1)(B), 116th Cong. (2019) (Select Committee on the Climate Crisis); id. at § 201(b)(3)

(Select Committee on the Modernization of Congress).

       In contrast, when creating the Select Committee, the House required only that Members

be chosen “after consultation with the Minority Leader,” H. Res. 503, § 2(a) (emphasis added),

which allows the Speaker greater authority regarding the appointment of minority party



42
   Available at https://rules.house.gov/sites/democrats.rules.house.gov/files/117-House-Rules-
Clerk.pdf.


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Members. “Consultation” means to “seek[] advice or information of.’” United Keetoowah Band

of Cherokee Indians in Okla. v. FCC, 933 F.3d 728, 750 (D.C. Cir. 2019) (internal quotation

marks omitted); see BLACK’S LAW DICT. (11th ed. 2019) (defining “consultation” as “[t]he act of

asking the advice or opinion of someone”). This language is consistent with House practice and

precedent: The same language was used in the resolutions that created both the Select Bipartisan

Committee to Investigate the Preparation for and Response to Hurricane Katrina, see supra, and

the Select Committee on the Events Surrounding the 2012 Terrorist Attack in Benghazi, see H.

Res. 567, § 2(a), 113th Cong. (2014).

       Here, House Resolution 503 was followed: the Minority Leader was consulted. Indeed,

as the RNC notes, the Minority Leader made several suggestions to the Speaker regarding

minority party Members to serve on the Select Committee, Pl.’s Mem. at 22. The fact that the

Speaker—using her authority under House Rules; the January 4, 2021, Order of the House; and

House Resolution 503—made different selections as to two Members, and that the Minority

Leader subsequently withdrew his recommendations, does not make the Select Committee

improperly constituted, nor does it invalidate any of its actions. There is no basis for a court to

substitute its interpretation of the terms “shall” and “consultation” for the House’s view. See

Barker v. Conroy, 921 F.3d 1118, 1130 (D.C. Cir. 2009); Eastman, ECF No. 43 at 9 & n.12;

Vander Jagt, 699 F.2d at 1175.

       Finally, the RNC argues that the Court should enjoin Salesforce from complying with the

Subpoena because Chairman Thompson failed to consult with a “ranking minority member”

before issuing the Subpoena. Pl.’s Mem. at 20–21. This argument is also wrong. House

Resolution 503 does not require consultation with the ranking minority Member before issuing a

subpoena for documents; instead, it provides that the “chair of the Select Committee may




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authorize and issue subpoenas pursuant to clause 2(m) of [House] rule XI.” See H. Res. 503,

§ 5(c)(4). In turn, House Rule XI.2(m) permits issuance of subpoenas for documents when the

power to authorize and issue subpoenas has been “delegated to the chair of the committee under

such rules and under such limitations as the committee may prescribe.” Id. Because House

Resolution 503 specifically delegates to the Chairman of the Select Committee the power to

authorize and issue documents subpoenas, such as the one issued to the RNC, it is consistent

with House Rule XI.2(m)(3)(A)(i).

       E.      Subpoena Compliance Will Not Violate the Stored Communications Act

       Finally, the RNC contends that Salesforce should be enjoined from producing some

documents because doing so would violate the Stored Communications Act. This is wrong as a

matter of law because nothing in the Act limits the ability of a Congressional committee to

obtain records from a “person or entity providing an electronic communication service to the

public” via a lawful and duly authorized subpoena. 18 U.S.C. § 2702(a)(1).

       Contrary to the RNC’s contention, the Subpoena does not seek the “actual content of

communications stored on Salesforce’s servers.” Pl.’s Mem. at 22. The RNC contends that the

request for “message attributes” in the first item of the Subpoena calls for such content. This is

incorrect. “Message attributes” refers to metadata associated with the emails sent through

Salesforce’s platform, including the number of recipients, the presence of any attachments or

links, the subject of the email, and the date of the email. Message attributes, like the other

metrics and analytics sought by the Subpoena, do not include content. The RNC also contends

that items three and four of the Subpoena are likely to contain the content of stored

communications. Id. But those items, which call for investigative reports and analyses

“conducted by Salesforce” concerning the “Washington Rallies” and the RNC’s use of




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Salesforce’s platform, are likely to contain Salesforce’s own commentary and conclusions

concerning the activities leading up to January 6th. Salesforce commits in its Master

Subscription Agreement to protect the “confidentiality and integrity of Customer Data.”43 The

RNC suggests no reason to believe that Salesforce copied and pasted the content of the RNC’s

stored emails into any of these reports. Because the Subpoena does not seek communication

contents, Salesforce’s compliance with the Subpoena would not violate 18 U.S.C. § 2702(a)(1).

       While the Act prohibits the disclosure of the contents of communications to “any person

or entity,” it expressly permits the disclosure of non-content records to “any person other than a

governmental entity.” 18 U.S.C. § 2702(a)(1), (a)(3), (c)(6). The Act’s definitional terms make

clear that Congress did not intend for “governmental entity” to include Congress. 18 U.S.C.

§ 2711(4). The RNC acknowledges this in its Motion: “Congress is not a ‘governmental entity’

because, as the legislative branch, it is not a “department or agency of the United States.” Pl.’s

Mem. at 22–23 (citing 18 U.S.C. § 2711(4)).

       Thus, because the Select Committee does not seek the content of communications stored

on Salesforce’s servers and because the Select Committee is not a “governmental entity” under

§ 2711(4), Salesforce’s production of documents in response to the Subpoena will not violate the

Stored Communications Act.

III.   THE RNC HAS FAILED TO DEMONSTRATE A LIKELIHOOD OF
       IRREPARABLE HARM

       The Court should deny the RNC’s Motion for the independent reason that it has not

established a likelihood of irreparable injury. A plaintiff seeking a preliminary injunction must




43
   Salesforce, Master Subscription Agreement (Feb. 18, 2022),
https://www.salesforce.com/content/dam/web/en_us/www/documents/legal/salesforce_MSA.pdf
(last visited Mar. 20, 2022).


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“demonstrate that irreparable injury is likely in the absence of an injunction.” Winter v. Natural

Resources Defense Council, Inc., 555 U.S. 7, 22 (2008). Because a preliminary injunction is an

“extraordinary remedy,” a mere “possibility” of irreparable injury is not sufficient. Id.

       The D.C. Circuit applies a “high standard for irreparable injury.” Chaplaincy of Full

Gospel Churches v. England, 454 F.3d 290, 297 (D.C. Cir. 2006). The alleged injury “must be

both certain and great; it must be actual and not theoretical.” Wis. Gas Co. v. FERC, 758 F.2d

669, 674 (D.C. Cir. 1985) (per curiam). And it must be “of such imminence that there is a clear

and present need for equitable relief to prevent irreparable harm.” Id. To meet this standard, a

movant “must provide proof that the harm has occurred in the past and is likely to occur again, or

proof indicating that the harm is certain to occur in the near future.” Id. The movant must also

show “that the alleged harm will directly result from the action which the movant seeks to

enjoin.” Id.

       Economic or monetary loss generally does not constitute irreparable harm. Id. The only

circumstance in which the D.C. Circuit has endorsed a finding of irreparable harm based on

“monetary loss” is where “alleged losses ‘threaten[ ] the very existence’” of an entity.

ConverDyn v. Moniz, 68 F. Supp. 3d 34, 47 (D.D.C. 2014) (quoting Wisconsin Gas, 758 F.2d at

674). The “loss of business opportunities, market share, and customer goodwill are typically

considered to be economic harms” that do not amount to irreparable harm. Air Transp. Ass’n of

Am., Inc. v. Exp.-Imp. Bank of the U.S., 840 F. Supp. 2d 327, 335 (D.D.C. 2012).

       In its effort to meet this high standard, the RNC relies on a single declaration from its

Chief Digital Officer and makes a host of conclusory and speculative assertions that fail to

demonstrate that it or its members will suffer any harm, let alone imminent irreparable harm.




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       First, the RNC asserts that Salesforce’s production “could” be used by its opponents and

competitors to create a mosaic of its confidential digital political strategy and, thereby, erode its

advantage in “targeting” certain demographics for fundraising and political messaging. Pl.’s

Mem. at 25.44 According to the RNC this would result in “monetary harm.” Id.

       Even assuming that the Select Committee could glean the RNC’s entire digital political

strategy from two months of historical metrics and metadata, it is unclear how the Select

Committee’s mere possession of this mosaic could harm the RNC. Nor would it be likely to help

RNC’s competitors, as this information is likely to be stale and provide no insight into the

RNC’s strategy for the 2022 or 2024 election cycles, especially considering reports that the RNC

has stopped using Salesforce. Koebler and Cox, supra note 1. Finally, as the RNC

acknowledges, any such harm would be “monetary.” In the absence of evidence that this

monetary harm would represent an existential threat to the RNC, it necessarily would not be

“irreparable.”

       Second, the RNC asserts that, following any disclosure of information by Salesforce, its

supporters are less likely to engage with it through digital platforms. Pl.’s Mem. at 26. The

RNC offers no evidence for these predictions other than the conclusory assertions of its Chief

Digital Officer. Even if the RNC’s predictions are correct, any reduction in engagement or

support is the equivalent of a loss of customer goodwill and, like any reduction in fundraising,

amounts to economic, not irreparable, harm.

       Third, the RNC contends that any production by Salesforce will cause direct harm to its

supporters by disclosing their private information, exposing them as Republican supporters, and


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  Although the RNC presents these as two different categories of harm, they both appear to
amount to the same contention that confidential information relating to its digital marketing will
confer a benefit to others and result in a monetary loss to the RNC.


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revealing their positions on issues and candidates. Pl.’s Mem. at 26. According to the RNC, the

supporters could then find themselves “cancelled” from social media, fired from their jobs, or

face threats of “life and limb.” Pl.’s Mem. at 27.45 The RNC has not submitted any declarations

from its supporters or other evidence for these propositions. Instead, its own Chief Digital

Officer, Christian Schaeffer, claims that “based on [his] experience,” the RNC’s supporters have

“general concerns regarding their political activities being publicized.” Schaffer Decl. ¶ 20.

Schaeffer goes on to describe his “belie[f]” that this “stems from a general culture where

individuals who express conservative and Republican views are attacked and vilified.” The RNC

offers no explanation for why these “general concerns” apply only to supporters who contribute

less than $200, while larger donors, whose identities are required by law to be disclosed, are not

deterred. Regardless, it cannot establish irreparable harm based on the mere beliefs and

speculations of its Chief Digital Officer, who did not even provide a factual basis that such

private information would be disclosed in response to the subpoena.

       Moreover, all the categories of purported harm identified by the RNC require some

intervening event for it to suffer any injury. For example, its concerns about its digital marketing

strategy are irrelevant unless the Members of the Select Committee use the Salesforce data for

their own political purposes or distribute the data to the RNC’s competitors. Similarly, no

purported harm will befall the RNC’s supporters unless the Select Committee is able to

determine identifying information from the metrics and metadata it receives from Salesforce,

chooses to compile such information, and then widely publicizes it. None of these events flow

directly or imminently from Salesforce’s production of documents to the Select Committee. The



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  The RNC again attempts to present these harms as different categories in multiple paragraphs,
but they all involve potential harm to its supporters because of their exposure.


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fact that they might possibly occur is insufficient to warrant a preliminary injunction. See

Winter, 555 U.S. at 22; see also Exxon Corp. v. F.T.C., 589 F.2d 582, 589 (D.C. Cir. 1978) (“The

courts must presume that the committees of Congress will exercise their powers responsibly and

with due regard for the rights of affected parties.”).

       Nor can the RNC demonstrate irreparable harm by alluding generally to the risk of its

First Amendment rights being “chilled.” See Ghandi v. Police Dep’t of City of Detroit, 747 F.2d

338, 347 (6th Cir. 1984) (noting that injunctive relief is not available based merely on conclusory

assertions that “the exercise of first amendment rights is being ‘chilled’ by the mere existence,

without more, of a governmental investigative and data-gathering activity” (quoting Laird v.

Tatum, 408 U.S. 1, 10 (1972)). This case is nothing like those cited in the RNC’s brief for this

proposition. See, e.g., Karem v. Trump, 960 F.3d 656, 667 (D.C. Cir. 2020) (enjoining White

House’s revocation of journalist’s press privileges without due process); Turner v. U.S. Agency

for Global Media, 502 F. Supp. 3d 333, 385 (D.D.C. 2020) (finding that censorship of opinions

on Voice of America caused irreparable harm).

       In short, the RNC has failed to demonstrate that it is likely to suffer any harm at all, let

alone imminent irreparable harm, from Salesforce’s production to the Select Committee of two

months of metrics and metadata.

IV.    THE BALANCE OF EQUITIES WEIGHS HEAVILY IN FAVOR OF THE
       SELECT COMMITTEE

       The balance of the equities strongly supports denial of the requested injunction. As noted

above, the RNC has not proven that it would suffer any injury at all from the production of two

months of data concerning its email campaign leading up to the January 6th attack. Indeed, to

the extent it suffers at all, it would suffer in the same manner as countless entities—including

entities directly involved in protected speech activities—that routinely produce emails and other



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communications in response to civil discovery subpoenas, government administrative subpoenas

or civil investigative demands, grand jury subpoenas, and the like.

       By contrast, the Select Committee’s interests in prompt compliance with the subpoena

are of the highest order. See supra at 26 (citing Barenblatt, 360 U.S. at 111); see also McGrain,

273 U.S. at 175 (“[W]here the legislative body does not itself possess the requisite information—

which not infrequently is true—recourse must be had to others who do possess it.”).

       Here, the Select Committee is investigating matters of immense national importance.

And any role the RNC played in orchestrating, executing, and profiting from the disinformation

campaign that led up to the January 6th attack is critical to that investigation. The Select

Committee’s interest in proceeding with its investigation is self-evident, and injunctive relief

would directly hinder and frustrate that ongoing investigation. The balance of the equities thus

heavily favors denial of the RNC’s Motion.

V.     THE PUBLIC INTEREST SUPPORTS ALLOWING THE SELECT
       COMMITTEE TO CONDUCT ITS URGENT INVESTIGATION

       For the same reasons, the public interest strongly supports denial of the Motion. Even in

the less pressing context of administrative investigations, which derive from statutory authority

(whereas Congress’s power of investigation is derived from the Constitution itself), the D.C.

Circuit has “recognized a strong public interest in having” such “investigations proceed

‘expeditiously and without impediment.’” Linde Thomson Langworthy Kohn & Van Dyke, P.C.

v. Resolution Trust Corp., 5 F.3d 1508, 1514 (D.C. Cir. 1993) (internal quotation marks

omitted). A fortiori, the public interest in expeditious and unimpeded Congressional

investigations is compelling. See Exxon Corp., 589 F.2d at 593 (there is a “clear public interest

in maximizing the effectiveness of the investigatory powers of Congress”). The welfare of the

public is a factor to be weighed in determining whether or not to issue an injunction, and “the



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investigatory power is one that the courts have long perceived as essential to the successful

discharge of the legislative responsibilities of Congress[.]”). It is difficult to imagine a

Congressional investigation of greater national significance. The public interest in permitting the

Select Committee to proceed with its investigation thus compels rejection of the RNC’s Motion.



                                              CONCLUSION


       The RNC has failed to meet the high burden necessary to obtain the extraordinary remedy

of a preliminary injunction. For the reasons set forth above, its Motion should be denied, and

this case should be dismissed.

                                                    Respectfully submitted,

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    Appearing pursuant to 2 U.S.C. § 5571(a).

Dated: March 23, 2022




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                                 CERTIFICATE OF SERVICE

       I hereby certify that on March 23, 2022, I caused the foregoing document to be filed via

the CM/ECF system for the U.S. District Court for the District of Columbia, which I understand

caused a copy to be served on all registered parties.



                                              /s/ Douglas N. Letter
                                              Douglas N. Letter




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